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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA

                v.                     Criminal No. 14-121

ANTIONE ARNETE, ET AL

                     MOTION TO WITHDRAW APPEARANCE


           AND NOW comes the United States of America, by its

attorneys,   David   J.   Hickton,   United   States     Attorney    for   the

Western   District   of   Pennsylvania,    and   Conor    Lamb,     Assistant

United States Attorney for said district, and respectfully files

this motion to withdraw appearance of Conor Lamb as counsel for

the United States for this underlying criminal matter.                     The

United States of America will continue to be represented by

Assistant United States Attorney Barbara K. Doolittle.



                                        Respectfully submitted,

                                        DAVID J. HICKTON
                                        United States Attorney


                                          s/ Conor Lamb
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